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                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA


    JOSHUA MARCEL BROWN,
                                                                         CIVIL ACTION
            Plaintiff,

            v.

    NATIONAL TENANT NETWORK, INC. et                                     NO. 21-1273-KSM
    al.,
         Defendants.


                                                        ORDER

           AND NOW, this 14th day of May, 2021, it is ORDERED that a TELEPHONIC

PRETRIAL CONFERENCE will be held on Wednesday, May 26, 2021, at 10:30 a.m.1

           IT IS FURTHER ORDERED as follows:

           1. Lead counsel shall participate in the joint conference conducted pursuant to Fed. R.

Civ. P. 26(f) and telephonically attend the pretrial conference. The Court shall deem the attorney

who participates in the Rule 26(f) conference and who takes the lead at the pretrial conference as

lead counsel for all matters going forward in the case.

           2. At least seven (7) days prior to the pretrial conference, counsel for the Parties shall

submit via e-mail, in the form attached hereto, a joint report of the conference that they conduct

pursuant to Fed. R. Civ. P. 26(f). 2

           3. The Parties shall exchange initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) at

least one (1) business day in advance of the Rule 16 conference.


                                                                /s/ Karen Spencer Marston
                                                                KAREN SPENCER MARSTON, J.
1
    Chambers will circulate the dial-in information prior to the pretrial conference.
2
    A Word version of this form is available on Judge Marston’s page on the Court’s website.
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                           IN THE UNITED STATES DISTRICT COURT
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      JOSHUA MARCEL BROWN,
                                                               CIVIL ACTION
           Plaintiff,

           v.

      NATIONAL TENANT NTWORK, INC. et al.,                     NO. 21-1273-KSM

           Defendants.



                                    JOINT RULE 26(f) REPORT

          Following a fulsome discussion, as contemplated by Fed. R. Civ. P. 26(f), the Parties aver

   as follows:

 I.    Counsel

          A. Lead counsel for Plaintiff(s):     _____________________________

          B. Lead counsel for Defendant(s):     _____________________________

          C. Counsel who participated in Rule 26(f) conference on behalf of Plaintiff(s):

                 ____________________
                 ____________________
                 ____________________

          D. Counsel who participated in Rule 26(f) conference on behalf of Defendant(s):

                 ____________________
                 ____________________
                 ____________________

II.    Description of Claims and Defenses

          The Parties should assume that the Court has read the Complaint and is familiar with the

   claims. However, the Court does not know all of the facts supporting those claims, nor the factual
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   bases for the defenses. Therefore, counsel shall summarize the primary facts and threshold legal

   issues. Counsel should not merely parrot their pleadings. In addition, the Parties should attach

   critical documents to this report for the Court to review, if not attached to the pleadings already

   (e.g., in a contract case, the document(s) comprising the contract; in a personal injury case,

   photographs of the scene, etc.).

III.   Anticipated Scope of Discovery

          A. Summarize with specificity those issues on which the Parties will need to conduct

              discovery. Identify categories of information each Party needs in discovery and why.

          B. Anticipated number of interrogatories per Party:          ___________________

          C. Anticipated number of depositions per Party:              ___________________

          D. To the extent either Party proposes to exceed the presumptive limits in the Federal

              Rules of Civil Procedure for discovery, explain the basis for that proposal.

          E. Do the Parties anticipate the need for any third-party discovery? If so, identify the

              likely third-parties and the discovery to be sought.

          F. Do the Parties anticipate the need for experts? If so, identify the subjects on which the

              expert(s) may opine.

IV.    Status of Discovery

          The Parties must summarize the status of discovery to-date. If nothing has been done in

   terms of discovery, the Parties should explain why. In general, the Court prefers the parties to

   begin discovery prior to the Rule 16 conference.
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V.    Proposed Case Management Deadlines

         When completing this section, the Parties should presume that the Court will not bifurcate

  fact and expert discovery. Therefore, the Parties should propose dates that take that presumption

  into account.

         A. Deadline to serve initial disclosures under Rule 26(a)(1) (*must be exchanged at least

             one (1) business day before Rule 16 conference):          ___________________

         B. Deadline to amend pleadings to add claims or Parties (*must be as early as practicable

             to avoid prejudice or unnecessary delays):                  ___________________

         C. Deadline for affirmative expert reports (if any) and disclosure of lay witness opinion

             testimony with related information and documents (if any): ___________________

         D. Deadline for rebuttal expert reports (if any):                 ___________________

         E. Deadline to complete discovery:                              ___________________

         F. If any Party seeks more than 120 days for fact discovery, explain why.

         G. Deadline to file motion for summary judgment:                  ___________________

VI.   Deposition Scheduling

         The Court expects the Parties to meet and confer as soon as practicable to set aside dates

  to hold open for depositions before the close of discovery. If the Parties have not already done so,

  the Court will order the Parties to do so within two weeks of the Rule 16 conference.

         Have the Parties set aside dates for deposition? ___ Yes ___ No

         If yes, what are those dates? _________________________________________________

         If no, when do the parties intend to confer, and how many dates do they intend to set aside?

         ____________________________________
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VII.    Electronic Discovery

           Prior to the Rule 16 conference, the Court expects the Parties to have a thorough

    discussion about electronic discovery, including but not limited to 1) the need for electronically

    stored information (“ESI”), 2) sources of ESI, 3) the anticipated scope of electronic discovery, 4)

    the identity of potential custodians, 5) whether search terms will be necessary and, if so, any

    limitations thereto, 6) the respective burdens of collecting, reviewing, and producing ESI,

    including any claims for cost-shifting under the Federal Rules of Civil Procedure, and 7) any

    anticipated problems with electronic discovery. The Parties should summarize their discussion on

    these issues here. The Court expects counsel who attends the Rule 16 conference to be familiar

    with and able to discuss any ESI-related issues that might arise.

           In addition, the Parties should state whether they have agreed to an ESI stipulation. If so,

    the Parties should submit the stipulation to the Court in advance of the Rule 16 conference.

    If not, the Parties should identify what issues need to be resolved to finalize the stipulation.

VIII.   Protective Orders and Confidentiality Agreements

           The Parties should indicate whether they anticipate the need for a protective order in this

    case. If so, the Parties must explain what type of information needs protection from disclosure

    and why such protection is warranted under governing standards. In addition, the Parties are

    directed to Judge Marston’s Policies and Procedures concerning Protective Orders and

    Confidentiality Agreements.

 IX.    Alternative Dispute Resolution

           A. Have the Parties engaged in any settlement discussions? If so, set forth the status of

               those negotiations. If not, explain why not.
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           B. Have the Parties explored or considered other forms of alternative dispute resolution?

              If so, summarize those efforts. If not, state the Parties’ positions with respect to ADR,

              as required under Local Rule of Civil Procedure 53.3.

           C. Identify the individual who will attend the Rule 16 conference who will have authority

              to discuss settlement.

 X.    Consent to Send Case to a Magistrate Judge

           The Parties should indicate whether they consent to have a United States Magistrate Judge

   conduct any or all proceedings in this case, pursuant to 28 U.S.C. § 636(c).

XI.    Policies and Procedures

           Judge Marston’s Policies and Procedures are available for the Parties to review on the

   Court’s website. By signing below, counsel for each Party and/or each pro se Party represents that

   he or she has reviewed the Judge’s Policies and Procedures and acknowledges the requirements

   contained therein. The Parties and their counsel further acknowledge by signing below that Judge

   Marston will strike pleadings and other submissions that do not comply with her Policies and

   Procedures.

XII.   Other Matters

           The Parties should identify any other issues that have not been addressed above but may

   require the Court’s attention (e.g., anticipated motions, bifurcation, privilege issues, etc.).

   Date:



   ____________________________                           _________________________________
   Counsel for Plaintiff                                  Counsel for Defendant
